       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Michael Paul Reid
        v. Commonwealth of Virginia
        Record No. 0511-15-1
        Opinion rendered by Judge AtLee on
        February 2, 2016

    2. Nicholas David Pelloni
        v. Commonwealth of Virginia
        Record No. 0586-15-1
        Opinion rendered by Chief Judge Huff on
        February 2, 2016

    3. Christopher Eugene Wilson
        v. Commonwealth of Virginia
        Record No. 0363-15-3
        Opinion rendered by Judge Beales on
        February 9, 2016
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Joseph Louis Paduano
    v. Commonwealth of Virginia
   Record No. 0816-13-3
    Opinion rendered by Judge Annunziata
     on December 30, 2014
    Refused (150204)

2. Julie A. Rubino
    v. Justin Rubino
   Record No. 0595-14-1
    Opinion rendered by Judge Humphreys
     on January 20, 2015
    Dismissed pursuant to Code § 17.1-410 (A)(3) and (B) (150277)

3. Freddy Velez-Suarez
   v. Commonwealth of Virginia
   Record No. 1269-13-4
   Opinion rendered by Judge Alston
     on January 27, 2015
   Refused (150512)

4. Joshua Dadzie Anaman, s/k/a Joshua E. Dadzie-Anaman
    v. Commonwealth of Virginia
   Record No. 2465-13-4
    Opinion rendered by Judge Beales
     on February 24, 2015
    Refused (150468)

5. Andrew Becker, s/k/a Andrew Ira Becker
   v. Commonwealth of Virginia
   Record No. 1611-13-4
   Opinion rendered by Judge Petty
    on March 24, 2015
   Refused (150582)

6. Alexy J. Abdo, a/k/a Alexi J. Abdo
   v. Commonwealth of Virginia
   Record No. 0965-14-4
   Opinion rendered by Judge McCullough
    on March 24, 2015
   Refused (150578)
